       Case 1:19-cv-11633-GBD-OTW Document 111 Filed 03/26/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
                                                              :
STATE OF NEW YORK, et al.,
                                                              :
                                       Plaintiffs,            :      19-CV-7777 (GBD) (OTW)
                                                              :
                      -against-                               :      SCHEDULING ORDER
                                                              :
UNITED STATES DEPARTMENT OF HOMELAND :
SECURITY, et al.,                                             :
                                                              :
                                       Defendants.            :
-------------------------------------------------------------x

MAKE THE ROAD NEW YORK, et al.,                                  :
                                                                 :
                                       Plaintiffs,               :   19-CV-7993 (GBD) (OTW)
                                                                 :
                      -against-                                  :   SCHEDULING ORDER
                                                                 :
TRACY RENAUD, et al.,
                                                                 :
                                       Defendants.               :
                                                                 :
-------------------------------------------------------------x

                                                                 :
MAKE THE ROAD NEW YORK, et al.,
                                                                 :
                                       Plaintiffs,               :   19-CV-11633 (GBD)
                                                                 :
                      -against-                                  :   SCHEDULING ORDER
                                                                 :
ANTONY BLINKEN, et al.,                                          :
                                                                 :
                                       Defendants.               :
-------------------------------------------------------------x

ONA T. WANG, United States Magistrate Judge:

       The Court has reviewed the March 25, 2021 joint status report filed as ECF 289 in State
of New York, et al. v. U.S. Dep’t of Homeland Security, et al., No. 19-cv-7777 (GBD) (OTW) and
ECF 311 in Make the Road New York, et al. v. Renaud, et al., No. 19-cv-7993 (GBD) (OTW). The
     Case 1:19-cv-11633-GBD-OTW Document 111 Filed 03/26/21 Page 2 of 2




Court will hold a confidential Pre-Settlement Conference Scheduling Call on April 28, 2021 at
10:00 am. The dial in information is (866) 390-1828, access code 1582687.

       SO ORDERED.

                                                         s/ Ona T. Wang
Dated: New York, New York                              Ona T. Wang
       March 26, 2021                                  United States Magistrate Judge
